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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF NORTH DAKOTA

Northern Oil & Gas Inc.,            )
                                    )
                     Plaintiff,     )     ORDER GRANTING MOTION
                                    )     TO VACATE AND REOPEN CASE
      vs.                           )
                                    )     Civil No. 1:16-cv-388
EOG Resources, Inc.,                )
                                    )
                     Defendant.     )
______________________________________________________________________________

       Before the Court is Plaintiff Northern Oil and Gas, Inc. (“Northern”), motion (Doc. No.

159) for an order vacating the Court’s Order (Doc. No. 157) granting Defendant EOG Resources

Inc.’s (“EOG”) motion for summary judgment, entered by the Court on October 26, 2021, and

vacating the Judgment (Doc. No. 158) entered by the Clerk of the Court on the same day. The

motion is filed pursuant to Rule 60(a) of the Federal Rules of Civil Procedure. The basis for the

motion is that the order granting summary judgment was granted based upon an oversight

relating to the time allotted to respond to the Defendant’s motion. EOG does not oppose the

motion.

       For good cause shown, the Plaintiff’s motion (Doc. No. 159) is GRANTED.               The

Court’s Order granting summary judgment (Doc. No. 157) and the Clerk’s Judgment (Doc. No.

158) are VACATED. The Clerk of Court is directed to reopen the case.

       IT IS SO ORDERED.

       Dated this 16th day of November, 2021.


                                            /s/ Daniel L. Hovland
                                            Daniel L. Hovland, District Judge
                                            United States District Court
